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                          UNITED STATES DISTRICT COURT
                         CENTRAL DISTRICT OF CALIFORNIA

                               CIVIL MINUTES - GENERAL


Case No.:       ED CV 18-01367-AB (ASx)                      Date:   August 30, 2019


Title:     Monster Energy Company v. Thunder Beast LLC et al


 Present: The Honorable       ANDRÉ BIROTTE JR., United States District Judge
                 Carla Badirian                                Chia Mei Jui
                 Deputy Clerk                                 Court Reporter

      Attorney(s) Present for Plaintiff(s):        Attorney(s) Present for Defendant(s):
            Matthew Scott Bellinger                          Amanda V Dwight

 Proceedings:          PLAINTIFF MONSTER ENERGY COMPANY’S MOTION FOR
                       SUMMARY JUDGMENT ON DEFENDANTS’ FAIR USE
                       AFFIRMATIVE DEFENSE [52]

      The Courtroom Deputy Clerk distributes the Court’s tentative rulings prior to the
case being called.

      The Court having carefully considered the papers and the evidence submitted by
the parties, and having heard the oral argument of counsel, hereby takes the motion under
submission.




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CV-90 (12/02)                      CIVIL MINUTES - GENERAL            Initials of Deputy Clerk CB
